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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA
Criminal No. 24-115 (DWF/TNL)
Criminal No. 24-800 (DWE/TNL)

UNITED STATES OF AMERICA,

Plaintiff PLEA AGREEMENT AND
, SENTENCING
y STIPULATIONS
ALFONSO LEE SEALS,
Defendant.

The United States of America and the defendant, Alfonso Lee Seals,
agree to resolve this case on the terms and conditions that follow. This plea
agreement binds only the defendant and the United States Attorney’s Office
for the District of Minnesota (hereinafter “the United States” or “the
Government”). This agreement does not bind any other United States
Attorney’s Office or any other federal or state agency.

1. Charges. The defendant agrees to plead guilty to Counts 1 and 2
of the Indictment in Case No. 24-CR-115 (DWF/TNL), which charge the
defendant with Felon in Possession of a Firearm in violation of 18 U.S.C.
§§ 922(g) and 924(a)(8), and to Count 1 of the Indictment in Case No. 24-CR-
300 (DWF/TNL), which charges the defendant with Interference with

Commerce by Robbery in violation of 18 U.S.C. §§ 2 and 1951. The defendant

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fully understands the nature and elements of the crime with which he has been
charged.

Upon imposition of sentence, the government agrees to move to dismiss
Count 2 of the Indictment in Case No. 24-CR300 (DWE/TNL), which charges
the defendant with brandishing a firearm during and in relation to a crime of
violence in violation of 18 U.S.C. § 924(c)(1)(A)(ii).

2. Factual Basis. The defendant is pleading guilty because he is in
fact guilty of Counts 1 and 2 of the Indictment in Case No. 24-CR-115
(DWF/TNL), as well as Count 1 of the Indictment in Case No. 24-CR-300
(DWE/TNL). In pleading guilty, the defendant admits the following facts and
that those facts establish his guilt beyond a reasonable doubt and constitute
relevant conduct pursuant to the United States Sentencing Guidelines:

Count 1, 24-CR-115(DWE/TNL): On June 14, 2028, just before midnight,

Minneapolis police received a 911 call reporting a shootout between two cars
along University Avenue Northeast. When police arrived, they found a car
crashed into a utility pole. The car was still running and was recently
abandoned. Bullet holes were in the roof of the car, and one of the windows
was shot out.

Police found a firearm—a Glock model 27 .40 caliber pistol bearing serial
number MTC122—on the floorboard of the driver’s seat. Police also found

multiple spent .40 caliber shell casings on and under the driver’s seat and in

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the 1400 block of University Avenue. The Glock had a device known as a
“switch” or “auto-sear” attached to it. That device allowed the Glock to be fired
as a fully automatic weapon, making it a machinegun under federal law. The
Glock also had a large capacity magazine inserted in the magazine well. The
Glock was loaded, with a live round in the chamber and live rounds in the
magazine.

Forensic testing revealed that the defendant’s DNA was recovered from
the pistol. In text messages between the defendant and another from March
2023 through May 2023, the defendant repeatedly asked another to help
him obtain a Glock and a switch. In late May 2028, the defendant posted a
short video to Facebook in which he bragged about obtaining a Glock. The
video showed a Glock pistol with a switch and extended magazine in the
defendant’s lap.

The Glock was not manufactured in Minnesota, meaning it necessarily
traveled in interstate commerce before the defendant possessed it.

Count 2, 24-CR-115 (DWE/TNL): On November 7, 2028, police executed

a search warrant at another’s home in Welch, Minnesota. The defendant and
others were at the house at the time. During the search, police recovered a
firearm—a Taurus model G28 9-millimeter semi-automatic pistol bearing

serial number ACC623262.

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Forensic testing established that the defendant’s DNA matched the
major male DNA profile recovered from the firearm. The others present were
excluded as conributors to the DNA profile. The Taurus model G2S was
reported stolen from Mounds View, Minnesota, in October 2022, meaning it
was stolen when the defendant possessed it. The firearm was not
manufactured in Minnesota, meaning it necessarily traveled in interstate
commerce before the defendant possessed it.

When the defendant knowingly possessed both the Glock model 27 .40
caliber pistol bearing serial number MTC122 on June 14, 2028, and the Taurus
model G2S 9-millimeter pistol bearing serial number ACC623262, on
November 7, 2028, he had been convicted of the following offenses, each of
which was a crime of violence and punishable by imprisonment for a term

exceeding one year:

Offense Place of Conviction |Date of Conviction
(on or about)
Second-degree assault | Hennepin County, MN | October 2018
First-degree aggravated | Dakota County, MN December 2018

robbery

Before both June 14, 2023, and November 7, 2023, the defendant knew
he had been convicted of the above offenses. The defendant admits that he
knowingly and willingly possessed a firearm on both June 14, 2018, and on

November 7, 2023, within the State and District of Minnesota, despite knowing
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he was prohibited from possessing any firearm. He agrees that he acted
voluntarily and knew his actions violated the law.

Count 1, 24-CR-300 (DWE/TNL): On October 17, 2023, the defendant

and an accomplice unlawfully obstructed, delayed, and affected interstate
commerce, by robbing an Arco Marathon gas station and convenience store in
Oakdale, Minnesota. The defendant entered the store, pointed a firearm at the
employee cashier (Victim 1), ordered Victim 1 to his knees, and placed the
barrel of the firearm against Victim 1’s back. The defendant then ordered
Victim 1 to stand up and, at gunpoint, forced Victim 1 to walk to the area
behind the counter. There, the defendant repeatedly ordered Victim 1 to open
the cash register and threatened to kill Victim 1. The defendant and his
accomplice unlawfully took and obtained approximately $647 in U.S. currency,
various alcoholic beverages, and various tobacco and vaping products while in
the presence of Victim 1.

The firearm the defendant used in this robbery was neither the Glock
nor the Taurus that formed the basis for Counts 1 and 2 in Case No. 24-CR-
115 (DWE/TNL).

At the time of the robbery, the Arco Marathon was a commercial business
engaged in interstate commerce. The defendant obtained the currency and
other property against Victim 1’s will by means of actual and threatened force,

violence, and fear of immediate or future injury to Victim 1’s person. The

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defendant agrees that he acted voluntarily and knew his actions violated the
law.

3. Waiver of Pretrial Motions. The defendant understands and
agrees that the defendant has certain rights to file pre-trial motions. As part
of this plea agreement and based upon the concessions of the United States
within this plea agreement, the defendant knowingly, willingly, and
voluntarily gives up the right to have any pending motions resolved and to file
any additional pre-trial motions in this case. The defendant agrees that, by
pleading guilty, he is withdrawing any motions previously filed.

4, Waiver of Constitutional Trial Rights. The defendant
understands that he has the right to go to trial. At trial, the defendant would
be presumed innocent, have the right to trial by jury or, with the consent of the
United States and of the Court, to trial by the Court, the right to the assistance
of counsel, the right to confront and cross-examine adverse witnesses, the right
to subpoena witnesses to testify for the defense, the right to testify and present
evidence, and the right to be protected from compelled self-incrimination. The
defendant understands that he has the right to an attorney at every stage of
these proceedings and, if necessary, one will be appointed to represent him.
The defendant understands that he has the right to persist in a plea of not
guilty and, if he does so, he would have the right to a public and speedy trial.

By pleading guilty, the defendant knowingly, willingly, and voluntarily waives

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each of these trial rights, except the right to counsel. The defendant
understands that a guilty plea is a complete and final admission of guilt and,
if the Court accepts the guilty plea, the Court will adjudge the defendant guilty
without a trial.

5. Additional Consequences. The defendant understands that as
a result of this conviction, the defendant could experience additional collateral
consequences, such as the loss of the right to carry firearms, the right to vote,
and the right to hold public office. If the defendant is not a United States
citizen, as a result of a plea of guilty, the defendant may be removed from the
United States, denied citizenship, and denied admission to the United States
in the future. The defendant has discussed with his attorney the punishments
and consequences of pleading guilty, understands that not all of the
consequences can be predicted or foreseen, and still wants to plead guilty in
this case.

6. Statutory Penalties. The defendant understands that Counts 1
and 2 of the Indictment in Case No. 24-CR-115 (DWE/TNL), both charging
Felon in Possession of a Firearm in violation of 18 U.S.C. §§ 922(g¢)(1) and
924(a)(8) are felony offenses that carry the following statutory penalties:

a. a maximum of 15 years in prison;

b. a supervised release term of at least 1 year up to a maximum
supervised release term of 8 years;
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Cc.

d.

a maximum fine of $250,000; and

a mandatory special assessment of $100 under 18 U.S.C.

§ 3013(a)(2)(A);

The defendant understands that Count 1 of the Indictment in Case No.

24-CR-300 (DWE/TNL), charging Interference with Commerce by Robbery in

violation of 18 U.S.C. §§ 2 and 1951 is a felony offense that carries the following

statutory penalties:

a.

b,

a maximum of 20 years in prison;

a supervised release term of at least 1 year up to a maximum
supervised release term of 3 years;

a maximum fine of $250,000;

restitution to victims as agreed to by the parties in this
agreement; and

a mandatory special assessment of $100 under 18 U.S.C.
§ 3013(a)(2)(A).

7. Guidelines Calculations. The parties acknowledge that the

defendant will be sentenced in accordance with 18 U.S.C. § 3551, et seq.

Nothing in this plea agreement should be construed to limit the parties from

presenting any and all relevant evidence to the Court at sentencing. The

parties also acknowledge that the Court will consider the United States

Sentencing Guidelines in determining the appropriate sentence. The parties

stipulate to the following guidelines calculations:
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a. Case No. 24-CR-115 (DWE/TNL), Counts 1 and 2. The
parties agree that the counts group and the base offense
level is 26. U.S.S.G. §§ 2K2.1(a)(1), 3D1.2(d). The parties
agree that the offense level should be increased by 2 levels
because the offense involved 3 firearms (the Glock, the
Taurus, and one firearm that was not recovered but
possessed in Case No. 24-CR-300 (DWE/TNL). U.S.S.G. §
2K2.1(b)(1).

The parties agree that the offense level should be increased
by 2 levels because the defendant possessed a _ stolen
firearm—the Taurus. U.S.S.G. § 2K2.1(b)(4). Because the
cumulative offense level determined from the application of
U.S.S.G. § 2K2.1(b)(1) through (b)(4) exceeds level 29, the
parties agree that the cumulative offense level as discussed
above is 29.

The parties agree that the offense level should further
increase by 4 levels because the defendant used and
possessed a firearm—the Glock—in connection with another
felony offense, to wit: felony drive-by shooting in violation of
Minn. Stat. § 609.66, subd. le(a)(2), and intentionally
discharging a firearm under circumstances that endanger
the safety of another in violation of Minn. Stat. § 609.66,
subd. la(a)(2), and because the defendant used and
possessed the unrecovered firearm in connection with
another felony offense, to wit: interference with commerce
by robbery in violation of 18 U.S.C. § 1951. U.S.S.G. §
2K2.1(b)(6)(B).

The total offense level for this count is therefore 33. The
parties agree that no other Chapter 2 enhancements apply
to these offenses.

b. Case No. 24-CR-300 (DWE/TNL), Count 1. The parties agree
that the base offense level is 20. U.S.S.G. § 2B8.1(a). The
parties agree that the offense level should be increased by 6
levels because the defendant otherwise used a firearm.
U.S.S.G. § 2B3.1(b)(2)(B). The offense level for this count is
therefore 26.

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The parties agree that the defendant is not a career offender
because at the time of the offense, interference with
commerce by robbery in violation of 18 U.S.C. § 1951 was not
a crime of violence under the Guidelines. The parties agree
that no other Chapter 2 enhancements apply with respect to
this offense.

C. Chapter 38 Adjustments. The parties agree that the
calculations for Counts 1 and 2 for Case No. 24-CR-115
(DWE/TNL) and the calculation for Count 1 for Case No. 24-
CR-3800 (DWE/TNL) are closely related counts. U.S.S.G. §
3D1.2(c). The highest offense level is 33. U.S.S.G. §
3D1.8(a). The parties agree that aside from acceptance of
responsibility, no other Chapter 3 adjustments apply.

d. Acceptance of Responsibility. The government agrees to
recommend that the defendant receive a 2-level reduction
for acceptance of responsibility pursuant to U.S.S.G. §
B3E1.1(a). As the defendant has timely notified the
government of the defendant’s intention to enter a plea of
guilty, the government agrees to recommend that the
defendant receive an additional 1-level reduction pursuant
to U.S.S.G. § 3E1.1(b). Whether these reductions will be
imposed shall be determined by the Court in its discretion.
However, the defendant understands and agrees that the
government’s recommendations are conditioned upon the
following: (1) the defendant testifies truthfully during the
change of plea and sentencing hearings; (2) the defendant
provides full, complete and truthful information to the
United States Probation Office in the pre-sentence
investigation; and (3) the defendant engages in no conduct
inconsistent with acceptance of responsibility before the
time of sentencing.

Nothing in this agreement limits the right of the
government, pursuant to U.S.S.G. § 3E1.1 and/or § 8C1.1 to
seek denial of a reduction for acceptance of responsibility or
an adjustment for obstruction of justice should the defendant
engage in any conduct inconsistent with acceptance of
responsibility.

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e. Criminal History Category. The parties believe that, at the
time of sentencing, the defendant will fall into Criminal
History Category V. U.S.S.G. §4A1.1. This does not
constitute a stipulation, but a belief based on an assessment
of the information currently known. The defendant’s actual
criminal history and related status will be determined by the
Court based on the information presented in the Presentence
Report and by the parties at the time of sentencing. The
defendant understands that if the presentence investigation
reveals any prior adult or juvenile sentence which should be
included within his criminal history under the U.S.
Sentencing Guidelines, the defendant will be sentenced
based on his true criminal history category, and he will not
be permitted to withdraw from this Plea Agreement.

U.S.S.G. § 4A1.1.

f. Guidelines Range. If the adjusted offense level is 80, and the
criminal history category is V, the Sentencing Guidelines
range is 151-188 months of imprisonment.

g. Fine Range. If the adjusted offense level is 30, the
Sentencing Guidelines fine range is $30,000-$250,000.
U.S.S.G. § 5E1.2(c).

h. Supervised Release. The Sentencing Guidelines’ term of
supervised release is 1 year to 8 years. U.S.S.G. § 5D1.2.

8. Revocation of Supervised Release. The defendant
understands that if the defendant were to violate any supervised release
condition while on supervised release, the Court could revoke the defendant’s
supervised release, and the defendant could be sentenced to an additional term
of imprisonment up to the statutory maximum set forth in 18 U.S.C. §
3583(e)(3). See U.S.S.G. §§ 7B1.4, 7B1.5. The defendant also understands that

as part of any revocation, the Court may include a requirement that the

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defendant be placed on an additional term of supervised release after
imprisonment, as set forth in 18 U.S.C. § 85838(h).

9. Discretion of the Court. The foregoing stipulations are binding
on the parties, but do not bind the Court. The parties understand that the
Sentencing Guidelines are advisory and that their application is a matter that
falls solely within the Court’s discretion. The Court will make its own
determination regarding the applicable Guidelines factors and the applicable
criminal history category. The Court may also vary and/or depart from the
applicable Guidelines range. If the Court determines that the applicable
guideline calculations or the defendant’s criminal history category is different
from that stated above, the parties may not withdraw from this agreement,
and the defendant will be sentenced pursuant to the Court’s determinations.

10. Agreements as to Sentencing Recommendation. The
defendant agrees to recommend a sentence of no fewer than 151 months’
imprisonment. The government agrees to recommend a sentence of no
greater than 188 months’ imprisonment. If the Court does not accept the
sentencing recommendation of the parties, the defendant will have no right to
withdraw his guilty plea.

11. Special Assessment. The Guidelines require payment of a

special assessment in the amount of $100 for each felony count of which the

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defendant is convicted, pursuant to U.S.S.G. § 5E1.3. The defendant agrees to
pay the special assessment.

12. Restitution Agreement. The defendant understands and agrees
that 18 U.S.C. § 2259 applies and that the Court is required to order the
defendant to make restitution to the victims of his crime. The defendant agrees
that he owes restitution and agrees that the Court shall order him to pay
restitution in the amount of $4,614 to Shree Pramukh, Inc.

13. Disclosure of Assets. The defendant will fully and completely
disclose to the United States Attorney’s Office the existence and location of any
assets in which the defendant has any right, title, or interest, or over which
the defendant exercises control, directly or indirectly, including those assets
held by a spouse, nominee or other third party, or any business owned or
controlled by the defendant. The defendant agrees to assist the United States
in identifying, locating, returning, and transferring assets for use in payment
of restitution, fines, and forfeiture ordered by the Court. The defendant agrees
to complete a financial statement within two weeks of the entry of his guilty
plea. The defendant further agrees to execute any releases that may be
necessary for the United States to obtain information concerning the
defendant’s assets and expressly authorizes the United States to obtain a
credit report on the defendant to evaluate the defendant’s ability to satisfy

financial obligations imposed by the Court. If requested by the United States,

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the defendant agrees to submit to one or more asset interviews or depositions
under oath.
14. Forfeiture.

Counts 1 and 2, Case No. 24-CR-115 (DWE/TNL). The defendant agrees

to forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1) and 28 U.S.C.

§ 2461(c), the following firearm(s) and associated accessories and ammunition:
a. A Glock model 27 .40 caliber pistol bearing serial number
MTC122 and any ammunition and magazines seized therewith;
and
b. A Taurus model G28 9-millimeter semi-automatic pistol
bearing serial number ACC623262 and any ammunition and
magazines seized therewith.

The defendant agrees that the United States may, at its option, forfeit
such property through civil, criminal, or administrative proceedings, waives
any deadline or statute of limitations for the initiation of any such proceedings,
and abandons any interest the defendant may have in the property. The
defendant waives all statutory and constitutional defenses to the forfeiture and

consents to the destruction of the firearms and ammunition.

Count 1, Case No. 24-CR-300 (DWE/TNL). The defendant further agrees

to forfeit to the United States, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28

U.S.C. § 2461(c), any property, real or personal, which constitutes or is derived

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from proceeds traceable to the offense. If any of the above-described property
is unavailable for forfeiture, the United States intends to seek the forfeiture of
substitute property as provided for 21 U.S.C. § 853(p). The defendant shall
also forfeit to the United States, pursuant to 28 U.S.C. § 2461(c), any firearms,
accessories, or ammunition involved in or used in the commission of the
offense.

15. Waivers of Appeal and Collateral Attack. The defendant
hereby waives the right to appeal any non-jurisdictional issues. This appeal
waiver includes but is not limited to the defendant’s waiver of the right to
appeal guilt or innocence, any issues relating to the change-of-plea
proceedings, the sentence imposed, the Guidelines calculations, any restitution
obligations, and the constitutionality of the statutes to which the defendant is
pleading guilty. The parties agree, however, that excluded from this waiver is
an appeal by defendant of the substantive reasonableness of a term of
imprisonment above 188 months’ imprisonment.

The defendant also waives the right to collaterally attack his conviction
and sentence under 28 U.S.C. § 2255 except based upon a claim of ineffective
assistance of counsel. Further, this collateral-review waiver does not operate
to waive a collateral challenge under 28 U.S.C. § 2255 based on new legal
principles enunciated in Supreme Court case law decided after the date of this

Plea Agreement that are both substantive and have retroactive effect. For

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purposes of this provision, legal principles that are substantive and retroactive
are those that narrow the reach of the offense of conviction and render the
defendant’s conduct non-criminal or that render the sentence imposed illegal.

The defendant has discussed these rights with the defendant’s attorney.
The defendant understands the rights being waived, and the defendant waives
these rights knowingly, intelligently, and voluntarily.

The United States agrees to waive its right to appeal any sentence except
the government may appeal the substantive reasonableness of a term of
imprisonment below 151 months’ imprisonment (insert other, such as
retaining right to appeal a Guidelines determination).

16. FOIA Requests. The defendant waives all rights to obtain,
directly or through others, information about the investigation and prosecution
of this case under the Freedom of Information Act and the Privacy Act of 1974,
5 U.S.C. §§ 552, 552A.

17. Complete Agreement. This, along with any agreement signed
by the parties before entry of plea, is the entire agreement and understanding
between the United States and the defendant. By signing this plea agreement,
the defendant acknowledges: (a) that the defendant has read the entire
agreement and has reviewed every part of it with the defendant’s counsel; (b)
that the defendant fully understands this plea agreement; (c) that no promises,

agreements, understandings, or conditions have been made or entered into in

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connection with his decision to plead guilty, except those set forth in this plea
agreement; (d) that the defendant is satisfied with the legal services and
representation provided by defense counsel in connection with this plea
agreement and matters related to it; (e) that the defendant has entered into
this plea agreement freely, voluntarily, and knowingly; and (f) that the
defendant’s decision to plead guilty in accord with the terms and conditions of
this plea agreement is made of the defendant’s own free will.

ANDREW M. LUGER
United States Attorney

Poa ag
Date: 23 Pewember 202 Lenght
BY: Campbell Warner
Assistant United [States Attorney

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fg %

Date: [Z DS Lt 4 : FSP

Alfonso Lée Seals A
Defer ndant

“ /James M. Ventura
/ J Counsel for Defendant

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